Case 2:12-md-02311-SFC-RSW ECF No. 55-1, PageID.692 Filed 03/15/12 Page 1 of 1
                                      ATTACHMENT 1
                                DIRECT PURCHASER ACTIONS


                   Date of      Style                                    Court
                   Filing
              1    11/23/2011   2:11‐cv‐15186‐MOB‐MKM                    MIEDCE

                                MARTINEZ MANUFACTURING, INC.,

              2    12/06/2011   2:11‐cv‐15362‐JAC‐RSW                    MIEDCE

                                ACAP, L.L.C., f/k/a AGUIRRE, COLLINS &
                                AIKMAN PLASTICS, LLC

              3    12/09/2011   2:11‐cv‐15428‐VAR‐MKM                    MIEDCE

                                TECHNICAL AIDS TO INDEPENDENCE, INC.

              4    12/19/2011   2:11‐cv‐15553‐GCS‐RSW                    MIEDCE

                                MEXICAN INDUSTRIES IN MICHIGAN, INC.

              5    01/11/2012   2:12‐cv‐10130‐AC‐LJM                     MIEDCE

                                T.M. MORRIS MANUFACTURING
                                COMPANY, INC.

              6    01/12/2012   5:12‐cv‐10153‐JCO‐DRG                    MIEDCE

                                TIMBERLINE MANUFACTURING COMPANY

              7    01/12/2012   2:12‐cv‐10155‐AC‐MAR                     MIEDCE

                                DOS MANOS TECHNOLOGIES, LLC

              8    01/13/2012   2:12‐cv‐10177‐VAR‐DRG                    MIEDCE

                                CESAR‐SCOTT, INC.

              9    01/17/2012   2:12‐cv‐10201‐PJD‐RSW                    MIEDCE

                                PAESANO CONNECTING SYSTEMS, INC.

              10   01/25/2012   2:12‐cv‐10336‐JCO‐DRG                    MIEDCE

                                CRAFT‐CO ENTERPRISES, INC.

              11   02/16/2012   2:12‐cv‐10720‐MOB‐MKM                    MIEDCE

                                Q.C. ONICS VENTURES, LP
